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                 THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TEXAS
                         SHERMAN DIVISION


UNITED STATES OF AMERICA,              §
Plaintiff,                             §
                                       §
v.                                     §         Case No. 4:20-CR-212 (1)
                                       §
DEBRA LYNN MERCER-ERWIN,               §
Defendant.                             §

                                   ORDER

      CAME ON this day for consideration, the government’s Unopposed

Motion to Authorize Clerk to Accept Payments. The Court, having

considered the same, is of the opinion that the motion has merit and should,

in all things, be GRANTED.

      Pursuant to the Guide to Judiciary Policy, Volume 13: Finance and

Budget, Chapter 8: Criminal Debt § 825.15.15, and 28 U.S.C. § 2041, it is

hereby ordered that the Clerk’s office is authorized to receive criminal debt

funds before the Court’s restitution judgment is issued or docketed if

Defendant makes a payment towards an anticipated special assessment,

restitution, fine, or other monetary penalty.

      IT IS FURTHER ORDERED that the Clerk is authorized to withdraw

and apply such funds to the criminal monetary penalties imposed against

Defendant upon entry of restitution judgment, pursuant to 28 U.S.C. § 2042.
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   SIGNED this 13th day of February, 2025.




                             ___________________________________
                             AMOS L. MAZZANT
                             UNITED STATES DISTRICT JUDGE
